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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                      *
                                              *
                                              *              NO: 4:09CR00166(4) SWW
V.                                            *
                                              *
DAVID CASH                                    *
                                              *



                                            ORDER

       On January 22, 2010, Defendant David Cash appeared before the Court for a change of

plea hearing. During the hearing, the Court learned that Defendant received a mental evaluation

in connection with state criminal proceedings and that defense counsel has attempted,

unsuccessfully, to obtain an evaluation report from the state. Finding sufficient doubt regarding

Defendant’s competency to proceed, the Court suspended the hearing in order to provide counsel

an opportunity to obtain the aforementioned evaluation report by subpoena or otherwise.

       The hearing will reconvene on February 4, 2010 at 12:00 p.m. If, at that time, counsel

has not obtained a copy of Defendant’s mental evaluation and the Court is unable to conclude

that Defendant is competent to proceed, the Court will commit Defendant to the custody of the

Attorney General for a psychiatric or psychological examination, pursuant to 18 U.S.C. § 4241.

As stated from the bench, any delay in commencing the trial occasioned by counsel’s efforts to

obtain a mental evaluation report from the state shall be excludable under the provisions of the

Speedy Trial Act, 18 U.S.C. §3161(h)(l)(A).

       IT IS SO ORDERED THIS 22ND DAY OF JANUARY, 2010.



                                                     /s/Susan Webber Wright
                                                     UNITED STATES DISTRICT JUDGE
